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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            11 CR. 457 (RMB)
        -against-
                                                                            ORDER
EVA SANTIAGO,
                           Defendant.
-------------------------------------------------------------X

        The supervised release hearing previously scheduled for Monday, October 18, 2021 at
11:00 AM is hereby rescheduled to Monday, November 15, 2021 at 10:30 AM

        In light of the continuing COVID-19 pandemic, the proceeding will be held
telephonically pursuant to the CARES Act and applicable implementing court procedures.

        Participants, members of the public and the press can use the following dial-in
information:


        USA Toll-Free Number: (877) 336-1829
        Access Code: 6265989
        Security Code: 4572


Dated: November 10, 2021
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
